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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

In the Matter of the Petition of GRACE *
OCEAN PRIVATE LIMITED, et al., for
Exoneration from or Limitation of

Civ. No. 24-00941-JKB

Liability “ IN ADMIRALTY
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ORDER

Counsel for Claimants Damon Davis and the Mayor and City Council of Baltimore (the
“City”) filed emergency requests regarding their concerns that certain members of the crew of the
M/V Dali would soon depart the jurisdiction without having first been deposed. (See ECF Nos.
43, 44.) The Court set in a Motions Hearing. (ECF Nos. 45, 50.) Counsel for Davis and the City
then filed Motions to Withdraw pursuant to an agreement reached among the parties. (ECF Nos.
49,55.) The Court subsequently held a Hearing in this matter today, June 20, 2024.

For the foregoing reasons and the reasons stated at the Hearing today in open court, it is
ORDERED that:

1. The Motions to Withdraw (ECF Nos. 49, 55) are GRANTED, and the requests filed
by Davis and the City (ECF Nos. 43, 44) are MOOT.
2. The terms, restrictions, and mandates set out in the Court’s June 18, 2024 Order

(ECF No. 45) are VACATED.

DATED this ZC) day of June, 2024.

BY THE COURT:

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James K. Bredar
United States District Judge

